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         Attorney for Vanik Atoyan



                                     UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF CALIFORNIA

                                                      )
         UNITED STATES OF AMERICA                     ) Case Number:   CR-S-11-210-JAM
                                                      )
                         Plaintiff(s),                )
                                                      )
                vs.                                   ) STIPULATION MODIFYING
                                                      ) CONDITIONS OF RELEASE
         Vanik Atoyan,                                )
                         Defendant(s).                )
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                                                      )
         IT IS HEREBY stipulated, between the United States of America through it undersigned
         counsel, R. Steven Lapham, Assistant United States Attorney, together with counsel for
         defendant Vanik Atoyan, Gary A. Talesfore, Esq. that the Conditions of Defendant Vanik
         Atoyan’s release be modified to allow him to associate with co-defendant’s who are
         members of his family. The parties request that this court modify the language in Mr.
         Vanik’s pre-trial release to include the same language as Mr. Vanik’s wife, Kristine
         Vanik, regarding contact with co-defendant’s to read, “You shall not associate or have
         any contact with your co-defendants, excluding family members, unless in the presence
         of defense counsel or with prior approval by the pretrial service officer.”
                The United States of America and Mr. Atoyan hereby agree and stipulate that the
         ends of justice are served by the granting of this slight modification of the terms of Mr.




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         Atoyan’s release. Mr. Atoyan’s family members (his wife, brother, brother in law and
         nephew) who are co-defendants in a related case CR-S-11-467 have the foregoing
         language as conditions of their pre-trial releases; only Mr. Atoyan’s does not because
         there were no other family members listed as co-defendant’s at the time of Mr. Atoyan’s
         release.
         IT IS SO STIPULATED.

         DATED: December 28, 2011                       /s/ Gary A. Talesfore
                                                        GARY A. TALESFORE
                                                        Attorney for Vanik Atoyan


         DATED: December 28, 2011                       Benjamin B. Wagner
                                                        United States Attorney


                                                  by:   /s/ R.Steven Lapham
                                                        R. Steven Lapham
                                                        Assistant U.S. Attorney




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                                     UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF CALIFORNIA

                                                     )
         UNITED STATES OF AMERICA                    ) Case Number:  CR-S-11-0467
                                                     )
                         Plaintiff(s),               )
                                                     )
                vs.                                  ) ORDER MODIFYING CONDITIONS OF
                                                     ) RELEASE
         Vanik Atoyan,                               )
                         Defendant(s).               )
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         GOOD CAUSE APPEARING, it is hereby ordered that based on the stipulation of the
         parties, the Court finds that this case is unusual in that four defendants are close
         members of the same family. The court specifically finds that the only reason Mr. Vanik
         is barred from associating with members of his family who are also co-defendants,
         including his wife, is because the related co-defendants were added subsequent to
         Defendant Vanik Atoyan’s release. It is therefore ordered that Defendant Vanik
         Atoyan’s conditions of release be modified as follows: “You shall not associate or have
         any contact with your co-defendants, excluding family members, unless in the presence
         of defense counsel or with prior approval with the court.”
         IT IS SO ORDERED:
         DATED: 1/9/2012                                  /s/ John A. Mendez____________
                                                          John A. Mendez
                                                          United States District Court Judge




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